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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   UNITED STATES OF AMERICA,                            NO. CR12-58-RSM
 9
                                   Plaintiff,
10
            v.
11                                                        DETENTION ORDER
     CALE GREEN,
12
                                   Defendant.
13

14
     Offenses charged:
15
            Count 1:              Conspiracy to Distribute Oxycontin, in violation of 21 U.S.C. §§
16                                841(a)(1), 841(b)(1)(C) and 846.
17          Counts 2, 3, 5 &6:    Distribution of Oxycontin, in violation of 21 U.S.C. §§ 841(a)(1)
18                                and 841(b)(1)(C)

19   Date of Detention Hearing: May 2, 2012
20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

22          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
24                  defendant is a flight risk and a danger to the community based on the nature of
25                  the pending charges. Application of the presumption is appropriate in this case.
26

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 1         2.    Defendant has a history of failures to appear and failure to comply with Court

 2               Orders.

 3         3.    Defendant has on-going substance abuse problems and has dropped out of

 4               treatment programs.

 5         4.    Defendant has mental health problems.

 6         5.    There are no conditions or combination of conditions other than detention that

 7               will reasonably assure the appearance of defendant as required or ensure the

 8               safety of the community.

 9         IT IS THEREFORE ORDERED:
10         (1)   Defendant shall be detained and shall be committed to the custody of the
11               Attorney General for confinement in a correction facility separate, to the extent
12               practicable, from persons awaiting or serving sentences or being held in custody
13               pending appeal;
14         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
15               counsel;
16         (3)   On order of a court of the United States or on request of an attorney for the
17               government, the person in charge of the corrections facility in which defendant
18               is confined shall deliver the defendant to a United States Marshal for the
19               purpose of an appearance in connection with a court proceeding; and
20         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
21               counsel for the defendant, to the United States Marshal, and to the United States
22               Pretrial Services Officer.
23         DATED this 2nd day of May, 2012.
24

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                                               AJAMES P. DONOHUE
26                                              United States Magistrate Judge

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     18 U.S.C. § 3142(i)
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